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              EXHIBIT 1
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     23                                                                                   SB 140/AP

     Senate Bill 140
     By: Senators Summers of the 13th, Watson of the 1st, Kirkpatrick of the 32nd, Kennedy of
     the 18th, Anderson of the 24th and others
                                                                                        AS PASSED




                                      A BILL TO BE ENTITLED
                                                AN ACT


 1   To amend Article 1 of Chapter 7 of Title 31 of the Official Code of Georgia Annotated,
 2   relating to regulation of hospitals and related institutions, so as to prohibit certain surgical
 3   procedures for the treatment of gender dysphoria in minors from being performed in
 4   hospitals and other licensed healthcare facilities; to provide for exceptions; to provide for
 5   violations; to amend Article 1 of Chapter 34 of Title 43 of the Official Code of Georgia
 6   Annotated, relating to the Georgia Composite Medical Board, so as to prohibit certain
 7   surgical procedures for the treatment of gender dysphoria in minors; to provide for
 8   exceptions; to provide for violations; to provide for legislative findings; to provide for related
 9   matters; to repeal conflicting laws; and for other purposes.


10                 BE IT ENACTED BY THE GENERAL ASSEMBLY OF GEORGIA:


11                                            SECTION 1.
12   The General Assembly finds that:
13        (1) There has been a massive unexplained rise in diagnoses of gender dysphoria among
14        children over the past ten years, with most of those experiencing this phenomenon being
15        girls;


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16        (2) Gender dysphoria is often comorbid with other mental health and developmental
17        conditions, including autism spectrum disorder;
18        (3) A significant portion of children with gender dysphoria do not persist in their gender
19        dysphoric conditions past early adulthood;
20        (4) Certain medical treatments for gender dysphoria, including hormone replacement
21        therapies and surgeries, have permanent and irreversible effects on children;
22        (5) No large-scale studies have tracked people who received gender-related medical care
23        as children to determine how many remained satisfied with their treatment as they aged
24        and how many eventually regretted transitioning; on the contrary, the General Assembly
25        is aware of statistics showing a rising number of such individuals who, as adults, have
26        regretted undergoing such treatment and the permanent physical harm it caused;
27        (6) Under the principle of "do no harm," taking a wait-and-see approach to minors with
28        gender dysphoria, providing counseling, and allowing the child time to mature and
29        develop his or her own identity is preferable to causing the child permanent physical
30        damage; and
31        (7) The General Assembly has an obligation to protect children, whose brains and
32        executive functioning are still developing, from undergoing unnecessary and irreversible
33        medical treatment.


34                                            SECTION 2.
35   Article 1 of Chapter 7 of Title 31 of the Official Code of Georgia Annotated, relating to
36   regulation of hospitals and related institutions, is amended by adding a new Code section to
37   read as follows:
38    "31-7-3.5.
39    (a) Except as provided in subsection (b) of this Code section, none of the following
40    irreversible procedures or therapies shall be performed on a minor for the treatment of
41    gender dysphoria in an institution licensed pursuant to this article:


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42        (1) Sex reassignment surgeries, or any other surgical procedures, that are performed for
43        the purpose of altering primary or secondary sexual characteristics; or
44        (2) Hormone replacement therapies.
45    (b) The provisions of subsection (a) of this Code section shall not apply to treatment
46    provided pursuant to an exception contained in subsection (b) of Code Section 43-34-15.
47    (c) The department shall establish sanctions, by rule and regulation, for violations of this
48    Code section up to and including the revocation of an institution's permit issued pursuant
49    to Code Section 31-7-3."


50                                           SECTION 3.
51   Article 1 of Chapter 34 of Title 43 of the Official Code of Georgia Annotated, relating to the
52   Georgia Composite Medical Board, is amending by adding a new Code section to read as
53   follows:
54    "43-34-15.
55    (a) Except as otherwise provided in subsection (b) of this Code section, the following
56    irreversible procedures and therapies performed on a minor for the treatment of gender
57    dysphoria are prohibited in this state:
58        (1) Sex reassignment surgeries, or any other surgical procedures, that are performed for
59        the purpose of altering primary or secondary sexual characteristics; and
60        (2) Hormone replacement therapies.
61    (b) The board shall adopt rules and regulations regarding the prohibitions contained in
62    subsection (a) of this Code section, which shall contain limited exceptions for:
63        (1) Treatments for medical conditions other than gender dysphoria or for the purpose of
64        sex reassignment where such treatments are deemed medically necessary;
65        (2)   Treatments for individuals born with a medically verifiable disorder of sex
66        development, including individuals born with ambiguous genitalia or chromosomal
67        abnormalities resulting in ambiguity regarding the individual's biological sex;


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68        (3) Treatments for individuals with partial androgen insensitivity syndrome; and
69        (4) Continued treatment of minors who are, prior to July 1, 2023, being treated with
70        irreversible hormone replacement therapies.
71    (c) A licensed physician who violates this Code section shall be held administratively
72    accountable to the board for such violation."


73                                          SECTION 4.
74   All laws and parts of laws in conflict with this Act are repealed.




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